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                     8
                     9                                  UNITED STATES DISTRICT COURT
                    10                              CENTRAL DISTRICT OF CALIFORNIA
                    lI                                        EASTERN DIVISION
                    12        CARTER BRYANT, an individual,           CASE NO. CV 04-9049 SGL {RNBx)
                                                                      Consolidated With Case No. 04-9059
                    13                     Plaintiff,                 and Case No. OS--2727
                    14              vs.                               DYSCOVERY MATTER
                    1S        MATTEL, INC., a Delaware                [To Be Heard By Discovery Master
                              corporation,                            Hon. Edward Infante (Ret.)^
                    16
                                           Defendant.                 LPUBLIC REDACTED  _1
                    17                                                DDECLARATION OF WW ILLIAM A.
                                                                      MOREHEAD IN SUPPORT OF
                    1$        AND CONSOLIDATED ACTIONS                MATTEL, INC.' S OPPOSITION TO
                                                                      MGA' S MOTION TO COMPEL
                    19                                                PRODUCTION OF DOCUMENTS
                                                                      FROM THIRD PARTY RIGHT
                    20                                                MANAGEMENT CONSULTANTS,
                                                                      INC.
                    21
                                                                      Hearing Date:       TSD
                    22                                                Time:               TBD
                    23                                                 Phase l.:
                                                                       Discovery Cut-off: January 28, 2008
                    24                                                 Pre--trial Conference: May 5, 2008
                                                                       Trial Date:            May 27, 2008
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                                               DECLARATION OF WILLIAM A. MOREHEAD
                      1
                      2                    I, William A. Morehead, declare as follows:
                      3              1.    I am a member of the bar of the State of California and an associate for
                      4        Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc. I make
                      5        this declaration in support of Mattel Inc.'s ("Mattel") Opposition to MGA
                      6        Entertainment Inc.'s ("MGA"} Motion to Compel Production of Documents from
                      7        Third Party Right Management Consultants , Inc. ("Right"}. I make this declaration
                      8        of personal, f rsthand knowledge, and if called and sworn as a witness, I could and
                      9        would testify competently thereto.
                     10              2.     On January 16, 2008, Right provided to Mattel documents that Right
                     11 '', had identified as being responsive to the outstanding documents requests in MGA's
                     12' December 19, 2008 subpoena for documents.
                     13              3.     On March 7, 2008, I reviewed these documents, which relate to Right's
                     14        services in connection with Mattel's lay-offs of employees.
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                   4              Executed on March 10, 2008, at Los Angeles, California.
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